         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2010
                 LT Case No. 2008-CF-011059-B
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BILLY SHEPPARD,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Duval County.
R. Anthony Salem, Judge.

Matthew J. Metz, Public Defender, and Tatiana Raevsky,
Assistant Public Defender, Daytona Beach, for Appellant.

Billy Sheppard, Bonifay, pro se.

Ashley Moody, Attorney General, and Julian E. Markham,
Assistant Attorney General, Tallahassee, for Appellee.

                         August 20, 2024


PER CURIAM.

    AFFIRMED.

JAY, EISNAUGLE, and BOATWRIGHT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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